        Case 2:20-cv-04452-PA-PLA Document 22 Filed 08/03/20 Page 1 of 10 Page ID #:154




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              5 Attorneys for Respondents
                Voltage Pictures, LLC; Voltage
              6 Productions, LLC; F&D Productions,
                LLC; THC Productions Ontario, Inc. and
              7 Mon, LLC
              8
                                              UNITED STATES DISTRICT COURT
              9
                                            CENTRAL DISTRICT OF CALIFORNIA
              10
                                                    WESTERN DIVISION
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              12
                 DIRECTORS GUILD OF AMERICA,                       Case No. 2:20-cv-04452-PA-PLA
              13 INC.,
                                                                   The Hon. Percy Anderson
              14                    Petitioner,
                                                                   RESPONDENTS VOLTAGE
              15              vs.                                  PICTURES, LLC; VOLTAGE
                                                                   PRODUCTIONS, LLC; F&D
              16 VOLTAGE PICTURES, LLC;                            PRODUCTIONS, LLC; THC
                 VOLTAGE PRODUCTIONS, LLC;                         PRODUCTIONS ONTARIO, INC.
              17 F&D PRODUCTIONS, LLC; THC                         AND MON, LLCS’ ANSWER TO
                 PRODUCTIONS ONTARIO, INC.; and                    PETITION TO COMPEL
              18 MON, LLC,                                         ARBITRATIONS PURSUANT TO
                                                                   COLLECTIVE BARGAINING
              19                    Respondents.                   AGREEMENTS
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                                                                   JURY TRIAL DEMANDED
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                                                                   Trial Date:      None Set
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                                     RESPONDENTS’ ANSWER TO PETITION TO COMPEL ARBITRATIONS
        Case 2:20-cv-04452-PA-PLA Document 22 Filed 08/03/20 Page 2 of 10 Page ID #:155




               1                                             ANSWER
               2              Respondents Voltage Pictures, LLC; Voltage Productions, LLC; F&D
               3 Productions, LLC; THC Productions Ontario, Inc. and Mon, LLC (collectively
               4 “Respondents”) hereby answer the Petition to Compel Arbitrations (the “Petition”)
               5 of Petitioner Directors Guild of America (“Petitioner”) as follows:
               6                                  JURISDICTION AND VENUE
               7              1.     Paragraph 1 of the Petition is a conclusion of law to which no answer is
               8 required.
               9              2.     Paragraph 2 of the Petition is a conclusion of law to which no answer is
              10 required.
              11                                             PARTIES
              12              3.     Respondents lack knowledge sufficient to admit or deny and therefore
              13 deny the allegations of Paragraph 3 of the Petition.
              14              4.     Paragraph 4 of the Petition is admitted in part. Respondents admit that
              15 “[t]he DGA and various employers (Producers) entered into a collective bargaining
              16 agreement known as the Directors Guild of America Basic Agreement (‘Basic
              17 Agreement’ or ‘BA’), which includes grievance and arbitration provisions.”
              18 Respondents deny that the collective bargaining agreements referenced in Paragraph
              19 4 of the Petition are “applicable to this matter.”
              20              5.     Paragraph 5 of the Petition is admitted.
              21              6.     Paragraph 6 of the Petition is admitted.
              22              7.     Paragraph 7 of the Petition is admitted.
              23              8.     Paragraph 8 of the Petition is admitted.
              24              9.     Paragraph 9 of the Petition is admitted.
              25              10.    Paragraph 10 of the Petition is a conclusion of law to which no answer
              26 is required.
              27                   ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
              28              11.    Paragraph 11 of the Petition is admitted.
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        Case 2:20-cv-04452-PA-PLA Document 22 Filed 08/03/20 Page 3 of 10 Page ID #:156




               1              12.   Paragraph 12 of the Petition is admitted.
               2              13.   Paragraph 13 of the Petition is admitted.
               3        FIRST CAUSE OF ACTION TO COMPEL ARBITRATION AGAINST
               4               RESPONDENTS F&D PRODUCTIONS, LLC AND VOLTAGE
               5                                     PRODUCTIONS, LLC
               6              14.   Paragraph 14 of the Petition contains no factual allegations to which an
               7 answer is required.
               8              15.   Paragraph 15 of the Petition is admitted.
               9              16.   Paragraph 16 of the Petition is admitted.
              10              17.   Paragraph 17 of the Petition is admitted.
              11              18.   Paragraph 18 of the Petition is admitted.
              12              19.   Paragraph 19 of the Petition is denied.
              13              20.   Paragraph 20 of the Petition is admitted in part. Respondents admit
              14 that “the grievance ha[s] still not been resolved.” Respondents deny that they “have
              15 not agreed to select an arbitrator and proceed to arbitration with the DGA.”
              16              21.   Paragraph 21 of the Petition is a conclusion of law to which no answer
              17 is required.
              18              22.   Paragraph 22 of the Petition is denied.
              19              23.   Paragraph 23 of the Petition is denied.
              20              24.   Respondents lack knowledge sufficient to admit or deny and therefore
              21 deny the allegations of Paragraph 24 of the Petition.
              22      SECOND CAUSE OF ACTION TO COMPEL ARBITRATION AGAINST
              23     RESPONDENTS THC PRODUCTIONS ONTARIO, INC. AND VOLTAGE
              24                                        PICTURES, LLC
              25              25.   Paragraph 25 of the Petition contains no factual allegations to which an
              26 answer is required.
              27              26.   Paragraph 26 of the Petition is admitted.
              28              27.   Paragraph 27 of the Petition is admitted.
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        Case 2:20-cv-04452-PA-PLA Document 22 Filed 08/03/20 Page 4 of 10 Page ID #:157




               1              28.   Paragraph 28 of the Petition is admitted.
               2              29.   Paragraph 29 of the Petition is admitted.
               3              30.   Paragraph 30 of the Petition is admitted.
               4              31.   Paragraph 31 of the Petition is denied.
               5              32.   Paragraph 32 of the Petition is admitted in part. Respondents admit
               6 that “the grievance ha[s] still not been resolved.” Respondents deny that they “have
               7 not agreed to select an arbitrator and proceed to arbitration with the DGA.”
               8              33.   Paragraph 33 of the Petition is a conclusion of law to which no answer
               9 is required.
              10              34.   Paragraph 34 of the Petition is denied.
              11              35.   Paragraph 35 of the Petition is denied.
              12              36.   Respondents lack knowledge sufficient to admit or deny and therefore
              13 deny the allegations of Paragraph 36 of the Petition.
              14       THIRD CAUSE OF ACTION TO COMPEL ARBITRATION AGAINST
              15              RESPONDENTS MON, LLC AND VOLTAGE PICTURES, LLC
              16              37.   Paragraph 37 of the Petition contains no factual allegations to which an
              17 answer is required.
              18              38.   Paragraph 38 of the Petition is admitted.
              19              39.   Paragraph 39 of the Petition is admitted.
              20              40.   Paragraph 40 of the Petition is admitted.
              21              41.   Paragraph 41 of the Petition is admitted.
              22              42.   Paragraph 42 of the Petition is denied.
              23              43.   Paragraph 43 of the Petition is admitted in part. Respondents admit
              24 that “the grievance ha[s] still not been resolved.” Respondents deny that they “have
              25 not agreed to select an arbitrator and proceed to arbitration with the DGA.”
              26              44.   Paragraph 44 of the Petition is a conclusion of law to which no answer
              27 is required.
              28              45.   Paragraph 45 of the Petition is denied.
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        Case 2:20-cv-04452-PA-PLA Document 22 Filed 08/03/20 Page 5 of 10 Page ID #:158




               1              46.   Paragraph 46 of the Petition is denied.
               2              47.   Respondents lack knowledge sufficient to admit or deny and therefore
               3 deny the allegations of Paragraph 47 of the Petition.
               4                                   AFFIRMATIVE DEFENSES
               5              Without admitting the truth of any allegation set forth in the Petition,
               6 Respondents assert the following affirmative defenses to the Petition and each and
               7 every cause of action purportedly stated therein.
               8                               FIRST AFFIRMATIVE DEFENSE
               9                                     (Failure to State a Claim)
              10              1.    The Petition fails to state a claim upon which relief can be granted
              11 against Respondents.
              12                              SECOND AFFIRMATIVE DEFENSE
              13                                           (No Standing)
              14              2.    Petitioner lacks standing to bring the claims alleged in the Petition.
              15                               THIRD AFFIRMATIVE DEFENSE
              16                                   (No Arbitration Agreement)
              17              3.    Respondents Voltage Pictures, LLC and Voltage Productions, LLC are
              18 not parties to the Basic Agreement.
              19                             FOURTH AFFIRMATIVE DEFENSE
              20                          (Improper Notice of Arbitration Proceedings)
              21              4.    Respondents were not provided proper notice of arbitration proceedings
              22 because there is no evidence that Petitioner followed the Grievance Procedures set
              23 forth in the Basic Agreement, including but not limited to filing the grievances
              24 referenced herein within the requisite time limits, providing adequate notice of
              25 grievance, or conducting a “Grievance Meeting” within ten working days after the
              26 filing of each grievance.
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        Case 2:20-cv-04452-PA-PLA Document 22 Filed 08/03/20 Page 6 of 10 Page ID #:159




               1                             FIFTH AFFIRMATIVE DEFENSE
               2                                (Failure to Exhaust Remedies)
               3              5.   Petitioner has failed to exhaust available remedies in that it appears
               4 Petitioner has made no effort to follow the Grievance Procedures set forth in the
               5 Basic Agreement, including but not limited to filing the grievances referenced
               6 herein within the requisite time limits, providing adequate notice of grievance, or
               7 conducting a “Grievance Meeting” within ten working days after the filing of each
               8 grievance.
               9                             SIXTH AFFIRMATIVE DEFENSE
              10                                    (Reservation of Rights)
              11              6.   Respondents have insufficient information upon which to form a belief
              12 as to whether they may have additional unstated affirmative defenses. Respondents
              13 reserve the right to assert additional affirmative defenses in the event discovery
              14 indicates that they are appropriate. Respondents reserve all rights and remedies
              15 against all persons and entities in connection with this matter.
              16                                    PRAYER FOR RELIEF
              17              WHEREFORE, Respondents pray for judgment against Petitioner as follows:
              18              1.   That the Petition be dismissed and that judgment be rendered in favor
              19 of Respondents and against Petitioner;
              20              2.   That Respondents be awarded their costs of suit and attorneys’ fees;
              21              3.   That Respondents be awarded such other relief as this Court deems just
              22 and proper.
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                                     RESPONDENTS’ ANSWER TO PETITION TO COMPEL ARBITRATIONS
        Case 2:20-cv-04452-PA-PLA Document 22 Filed 08/03/20 Page 7 of 10 Page ID #:160




              1 DATED: August 3, 2020                   EISNER, LLP
              2
              3
                                                  By:         /s/ Jeremiah Reynolds
              4
                                                        JEREMIAH REYNOLDS
              5                                         Attorneys for Defendants
                                                        Voltage Pictures, LLC; Voltage
              6
                                                        Productions, LLC; F&D Productions, LLC;
              7                                         THC Productions Ontario, Inc. and Mon,
              8                                         LLC

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        Case 2:20-cv-04452-PA-PLA Document 22 Filed 08/03/20 Page 8 of 10 Page ID #:161




              1                                  DEMAND FOR JURY TRIAL
              2
                              Respondents hereby demand a jury trial on all issuable facts including the
              3
                   making of the alleged agreements, the sufficiency of the notice of arbitration,
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                   whether Petitioner exhausted remedies provided by the requisite agreements, and
              5
                   Respondents’ alleged failure, neglect, or refusal to perform the alleged agreements,
              6
                   pursuant to 9 U.S.C. § 4.
              7
              8
                   DATED: August 3, 2020                         EISNER, LLP
              9
              10
              11                                           By:         /s/ Jeremiah Reynolds
                                                                 JEREMIAH REYNOLDS
              12
                                                                 Attorneys for Defendants
              13                                                 Voltage Pictures, LLC; Voltage
              14                                                 Productions, LLC; F&D Productions, LLC;
                                                                 THC Productions Ontario, Inc. and MON,
              15                                                 LLC
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                                     RESPONDENTS’ ANSWER TO PETITION TO COMPEL ARBITRATIONS
        Case 2:20-cv-04452-PA-PLA Document 22 Filed 08/03/20 Page 9 of 10 Page ID #:162




               1                                     PROOF OF SERVICE
               2               Directors Guild of America, Inc. v. Voltage Pictures, LLC, et al.
                                               USDC Case No. 2:20-CV-04452
               3
                   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
               4
                        At the time of service, I was over 18 years of age and not a party to this
               5 action. I am employed in the County of Los Angeles, State of California. My
                 business address is 9601 Wilshire Blvd., 7th Floor, Beverly Hills, California 90210.
               6
                        On August 3, 2020, I served true copies of the following document(s)
               7 described as RESPONDENTS VOLTAGE PICTURES, LLC; VOLTAGE
                 PRODUCTIONS, LLC; F&D PRODUCTIONS, LLC; THC PRODUCTIONS
               8 ONTARIO, INC. AND MON, LLCS’ ANSWER TO PETITION TO COMPEL
                 ARBITRATIONS PURSUANT TO COLLECTIVE BARGAINING
               9 AGREEMENTS on the interested parties in this action as follows:
              10                               SEE ATTACHED SERVICE LIST
              11        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                 the document(s) with the Clerk of the Court by using the CM/ECF system.
              12 Participants in the case who are registered CM/ECF users will be served by the
                 CM/ECF system. Participants in the case who are not registered CM/ECF users will
              13 be served by mail or by other means permitted by the court rules.
              14       I declare under penalty of perjury under the laws of the United States of
                 America that the foregoing is true and correct and that I am employed in the office
              15 of a member of the bar of this Court at whose direction the service was made.
              16              Executed on August 3, 2020, at Beverly Hills, California.
              17
              18                                                      /s/ Ebony Aguilar
                                                                 Ebony Aguilar
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                                     RESPONDENTS’ ANSWER TO PETITION TO COMPEL ARBITRATIONS
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              1                                     SERVICE LIST
                              Directors Guild of America, Inc. v. Voltage Pictures, LLC, et al.
              2                              USDC Case No. 2:20-CV-04452
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                                  RESPONDENTS’ ANSWER TO PETITION TO COMPEL ARBITRATIONS
